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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        :      CHAPTER 11
                                              :
MICHAEL JAMIL COBB,                                  :       CASE NO. 19-66295-wlh
                                              :
      Debtor.                                 :
______________________________                :


                MOTION REQUESTING ENTRY OF ORDER AUTHORIZING
                         DEBTOR TO REDEEM PROPERTY

         COMES NOW Michael Jamil Cobb (“Debtor”), by and through undersigned counsel, and

hereby files this Motion Requesting Entry of Order Authorizing Debtor to Redeem Property”

(“Motion”). In support of the Motion, debtor shows the Court as follows:

         1.    On October 11, 2019, Debtor filed a petition for relief under Chapter 11 of Title 11

of the United States Code. Debtor had two prior bankcuprty cases which were commenced and

dismissed within the year. Debtor’s prior cases were both initially filed as pro se chapter 13 case.

         2.    During the pendency of Debtor’s second chapter 13 case, he retained counsel and

the case was converted to a chapter 11 proceeding. Due to unforeseen issues the Debtor was unable

to successfully prosecute the Chapter 11 case and upon motion to the United States Trustee the

case was dismissed.

         3.    Debtor filed this current chapter 11 case on October 11, 2019, and is ready, willing

and able to prosecute the case.

         4.    Debtor owns several properties in Daugherty County, Georgia. The properties are

rental properties and the majority of the properties are unencumbered and generate income for the

Debtor.
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       5.      There are properties which are encumbered by tax liens and were subject to tax

sales including without limitation real property commonly known as 417 Wells Avenue, Albany,

Georgia (“Property”).

       6.      The Property was subject to a tax deed dated August 7, 2018 and recorded in the

Office of the Clerk of the Superior Court of Doughtery County, Georgia in deed book 4537 pages

307-308.

       7.      Debtor has received notice that he has through and including October 15, 2019, to

redeem the Property for the redemption price which is not specifically stated in the notice received

from CF Properties, Group, LLC.

       8.      Debtor requests entry of an order authorizing Debtor to redeem the Property and

Debtor further requests that the redemption price be provided in order for the proper payment to

be remitted.

       WHEREFORE, Debtor requests entry of an order permitting Debtor to redeem the Property

and grant such other and further relief as is deemed appropriate.

       Submitted this the 14th day of October, 2019.

                                              M. DENISE DOTSON, LLC
                                               /s/
                                              M. Denise Dotson
                                              Georgia Bar No. 227230
                                              PO Box 435
                                              Avondale Estates, GA 30002
                                              (404) 210-0166
                                              denise@mddotsonlaw.com
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                                 CERTIFICATE OF SERVICE

       I, M. Denise Dotson, certify that I caused a true and correct copy of the foregoing to be
served upon the parties on the matrix attached hereto via first class United States mail in a
properly addressed envelope.

       Submitted this 14st day of October, 2019.

                                             M. DENISE DOTSON, LLC

                                              /s/
                                             M. Denise Dotson
                                             Georgia Bar No. 227230
                                             PO Box 435
                                             Avondale Estates, GA 30002
                                             (404) 210-0166
                                             denise@mddotsonlaw.com
Label Matrix for Case   19-66295-wlh
                 local noticing        Doc 6Albany
                                                Filed
                                                   Code 10/14/19
                                                         Enforcement Entered 10/14/19 12:37:28       Desc Main
                                                                                       American Express
113E-1                                           Document
                                            240 Pine Ave            Page 4 of 5        PO Box 650448
Case 19-66295                               Suite 330                                  Dallas, TX 75265-0448
Northern District of Georgia                Albany, GA 31701-2560
Atlanta
Mon Oct 14 12:27:12 EDT 2019
American Home Shield                        Atlanta Title Loans                        BSI Financial Services
PO Box 2803                                 5349 Riverdale Road                        PO Box 961260
Memphis, TN 38101-2803                      Atlanta, GA 30349-5709                     Fort Worth, TX 76161-0260



Bank of Aermica                             Bank of America                            (p)BANK OF AMERICA
POB 982238                                  PO Box 962234                              PO BOX 982238
El Paso, TX 79998-2238                      El Paso, TX 79996-2234                     EL PASO TX 79998-2238



CT Properties Group, LLC                    Chase Cardmember Svcs                      Citibank NA
c/o David Orlowski                          PO Box 1423                                701 East 60th St
PO Box 607                                  Charlotte, NC 28201-1423                   Sioux Falls, SD 57104-0493
Albany, GA 31702-0607


Michael Jamil Cobb                          Communitiees at Princeton Lake             Communities at Princeton Lake
3711 Ramsey Circle SW                       3811 Redwine Pkwy SW                       3811 Redwine Pkwy SW
Atlanta, GA 30331-5490                      Atlanta, GA 30344                          Atlanta, GA 30344



Discover Bank                               Divine Finney Davis PC                     M. Denise Dotson
PO Box 30416                                600 N Jackson St                           M. Denise Dotson, LLC
Salt Lake City, UT 84130-0416               Albany, GA 31701-2310                      P.O. Box 435
                                                                                       Avondale Estates, GA 30002-0435


Dougherty County                            Dougherty County                           Fed Loan Servicing
240 Pine Ave                                240 Pine Ave                               PO Box 60610
Albany, GA 31701-2560                       PO Box 1827                                Harrisburg, PA 17106-0610
                                            Albany, GA 31702-1827


Freedom Mortgage                            GM Financial                               Internal Revenue Service
PO Box 619063                               PO Box 183593                              P. O. Box 7346
Dallas, TX 75261-9063                       Arlington, TX 76096-3593                   Philadelphia, PA 19101-7346



(p)INTERNAL REVENUE SERVICE                 Kohl’s                                     NASA Federal Credit
CENTRALIZED INSOLVENCY OPERATIONS           PO Box 2983                                PO Box 1588
PO BOX 7346                                 Milwaukee, WI 53201-2983                   Bowie, MD 20717-1588
PHILADELPHIA PA 19101-7346


Nationwide Credit                           Navy Federal Credit                        PRA Receivables Management, LLC
PO Box 14581                                PO Box 3500                                PO Box 41021
Des Moines, IA 50306-3581                   Merrifield, VA 22119-3500                  Norfolk, VA 23541-1021
R&L Engineering Case 19-66295-wlh               Doc 6Ridgeview
                                                         FiledInstitute
                                                                 10/14/19 Entered 10/14/19 12:37:28
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PO Box 3970                                               Document
                                                     3995 South Cobb Drive Page 5 of 5      PO Box 65450
Albany, GA 31706-3970                                 Smyrna, GA 30080-6397                                Salt Lake City, UT 84165-0450



Secretary of the Treasury                             State Farm                                           Synchrony Bank
15th & Pennsylvania Avenue, NW                        PO Box 1171                                          c/o PRA Receivables Management, LLC
Washington, DC 20200                                  Carol Stream, IL 60132-1171                          PO Box 41021
                                                                                                           Norfolk, VA 23541-1021


Synchrony Bank                                        U. S. Securities and Exchange Commission             US Bank NA
PO Box 965004                                         Office of Reorganization                             c/o McMichael Taylor Gray LLC
Orlando, FL 32896-5004                                Suite 900                                            3550 Engineering Dr Suite 260
                                                      950 East Paces Ferry Road, NE                        Norcross, GA 30092-2871
                                                      Atlanta, GA 30326-1382

blispay
Card Services
PO Box 64032
Columbus, GA 31908




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Bank of America                                       Internal Revenue Service
PO Box 982238                                         PO Box 21126
El Paso, TX 79998                                     Philadelphia, PA 19114




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Kaiser Permanente                                  End of Label Matrix
PO Box 403055                                         Mailable recipients     39
GA 30387                                              Bypassed recipients      1
                                                      Total                   40
